










NUMBER 13-01-244-CV

COURT OF APPEALS

THIRTEENTH DISTRICT OF TEXAS

CORPUS CHRISTI

____________________________________________________________________


KENNETH D. FORD , Appellant,


v.


MICHAEL A. ROESLER, ET AL. , Appellees.

____________________________________________________________________


On appeal from the 258th District Court

of Polk County, Texas.

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O P I N I O N


Before Justices Dorsey, Rodriguez, and Castillo

Opinion Per Curiam


Appellant, KENNETH D. FORD , perfected an appeal from a judgment entered by the   258th District Court of Polk
County, Texas, in cause number 17125 .  The clerk's record was filed on July 5, 2001 .  No reporter's record has been filed . 
 Appellant's brief was due on August 6, 2001 . To date, no appellate brief has been received.

When the appellant has failed to file a brief in the time prescribed, the Court may dismiss the appeal for want of
prosecution, unless the appellant reasonably explains the failure and the appellee is not significantly injured by the
appellant's failure to timely file a brief.  Tex. R. App. P. 38.8(a)(1).

On October 31, 2001, notice was given to all parties that this appeal was subject to dismissal pursuant to Tex. R. App. P.
38.8(a)(1).  Appellant was given ten days to explain why the cause should not be dismissed for failure to file a brief.  To
date, no response has been received.

The Court, having examined and fully considered the documents on file, appellant's failure to file a proper appellate brief,
this Court's notice, and appellant's failure to respond, is of the opinion that the appeal should be dismissed for want of
prosecution.  The appeal is hereby DISMISSED FOR WANT OF PROSECUTION.

PER CURIAM

Do not publish.

Tex. R. App. P. 47.3.



Opinion delivered and filed

this the 13th day of December, 2001






